Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 1 of 76




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                                                                         BE-1123
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 2 of 76




                                                                         BE-1124
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 3 of 76




                                                                         BE-1125
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 4 of 76




                                                                         BE-1126
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 5 of 76




                                                                         BE-1127
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 6 of 76




                                                                         BE-1128
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 7 of 76




                                                                         BE-1129
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 8 of 76




                                                                         BE-1130
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 9 of 76




                                                                         BE-1131
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 10 of 76




                                                                          BE-1132
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 11 of 76




                                                                          BE-1133
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 12 of 76




                                                                          BE-1134
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 13 of 76




                                                                          BE-1135
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 14 of 76




                                                                          BE-1136
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 15 of 76




                                                                          BE-1137
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 16 of 76




                                                                          BE-1138
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 17 of 76




                                                                          BE-1139
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 18 of 76




                                                                          BE-1140
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 19 of 76




                                                                          BE-1141
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 20 of 76




                                                                          BE-1142
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 21 of 76




                                                                          BE-1143
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 22 of 76




                                                                          BE-1144
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 23 of 76




                                                                          BE-1145
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 24 of 76




                                                                          BE-1146
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 25 of 76




                                                                          BE-1147
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 26 of 76




                                                                          BE-1148
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 27 of 76




                                                                          BE-1149
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 28 of 76




                                                                          BE-1150
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 29 of 76




                                                                          BE-1151
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 30 of 76




                                                                          BE-1152
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 31 of 76




                                                                          BE-1153
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 32 of 76




                                                                          BE-1154
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 33 of 76




                                                                          BE-1155
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 34 of 76




                                                                          BE-1156
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 35 of 76




                                                                          BE-1157
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 36 of 76




                                                                          BE-1158
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 37 of 76




                                                                          BE-1159
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 38 of 76




                                                                          BE-1160
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 39 of 76




                                                                          BE-1161
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 40 of 76




                                                                          BE-1162
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 41 of 76




                                                                          BE-1163
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 42 of 76




                                                                          BE-1164
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 43 of 76




                                                                          BE-1165
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 44 of 76




                                                                          BE-1166
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 45 of 76




                                                                          BE-1167
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 46 of 76




                                                                          BE-1168
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 47 of 76




                                                                          BE-1169
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 48 of 76




                                                                          BE-1170
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 49 of 76




                                                                          BE-1171
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 50 of 76




                                                                          BE-1172
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 51 of 76




                                                                          BE-1173
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 52 of 76




                                                                          BE-1174
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 53 of 76




                                                                          BE-1175
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 54 of 76




                                                                          BE-1176
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 55 of 76




                                                                          BE-1177
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 56 of 76




                                                                          BE-1178
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 57 of 76




                                                                          BE-1179
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 58 of 76




                                                                          BE-1180
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 59 of 76




                                                                          BE-1181
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 60 of 76




                                                                          BE-1182
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 61 of 76




                                                                          BE-1183
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 62 of 76




                                                                          BE-1184
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 63 of 76




                                                                          BE-1185
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 64 of 76




                                                                          BE-1186
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 65 of 76




                                                                          BE-1187
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 66 of 76




                                                                          BE-1188
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 67 of 76




                                                                          BE-1189
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 68 of 76




                                                                          BE-1190
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 69 of 76




                                                                          BE-1191
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 70 of 76




                                                                          BE-1192
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 71 of 76




                                                                          BE-1193
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 72 of 76




                                                                          BE-1194
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 73 of 76




                                                                          BE-1195
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 74 of 76




                                                                          BE-1196
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 75 of 76




                                                                          BE-1197
Case 4:20-cv-03889 Document 1-2 Filed on 11/16/20 in TXSD Page 76 of 76




                                                                          BE-1198
